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RJN 3 – Exhibit to Complaint listing Alleged Infringements – Strike 3 Holdings v Doe WDWA,
2:2017cv01729; filed 11/16/2017.
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                                                       Exhibit A to the Complaint
Location: Federal Way, WA                                                                           IP Address: 24.18.38.215
Total Works Infringed: 27                                                                           ISP: Comcast Cable
 Work       Hash                                        Site               UTC          Published         CRO App. File   CRO Number
                                                                                                          Date
 1          5410395B9658F937942371AA285E65291F47AA6C    Tushy              10/11/2017   05/21/2017        06/22/2017      PA0002039282
                                                                           09:22:49
 2          030B8276A2E4B491DDC5534009E2417F9CAA1362    Tushy              08/16/2017   07/15/2017        08/10/2017      15711014757
                                                                           23:46:00
 3          0816221732BC489696315493E8F3147C94085662    Vixen              09/02/2017   08/27/2017        09/07/2017      PA0002052843
                                                                           22:08:29
 4          0D72B710324FE82044BA0A219E709B5B9600EFEA    Tushy              08/17/2017   05/16/2017        06/22/2017      PA0002039300
                                                                           00:57:38
 5          13FFDD00D2E03C6F103DB775A870C2B0BD35070E    Tushy              08/17/2017   05/31/2017        06/22/2017      PA0002039299
                                                                           00:55:07
 6          1F9B47EAF9CB8170487BC4E9523C134710872A65    Tushy              08/17/2017   05/01/2017        06/15/2017      PA0002037577
                                                                           01:12:06
 7          2D66252D5BDAE9711D09CA9E58F4344469B562D4    Tushy              09/23/2017   09/23/2017        10/02/2017      15893930182
                                                                           22:07:08
 8          31CB8E1857CE8C0A798E7F8C2D2B63DDC5AE29C5    Tushy              08/12/2017   08/09/2017        08/17/2017      15732986259
                                                                           09:04:05
 9          43484134D4259093B9E6C9DCAECCE5C46E67A30C    Tushy              08/14/2017   07/20/2017        08/11/2017      PA0002046869
                                                                           23:22:19
 10         45B2E3DC85C1A3825981D3B9EBDCC2E3ECB94FF7    Vixen              09/18/2017   09/16/2017        09/25/2017      15894022913
                                                                           02:39:08
 11         5031CF1F96C7661508783CCE855955FE11D34630    Tushy              08/14/2017   06/15/2017        07/06/2017      15583057198
                                                                           19:56:20
 12         54A917617FD97D7134FD1A57B1BFD994C61F5AFD    Vixen              09/16/2017   06/23/2017        07/06/2017      15584691541
                                                                           23:56:59
 13         5C3311803A2AE6A1DC7120B54554E1AD681D4344    Tushy              08/15/2017   05/26/2017        06/22/2017      PA0002039288
                                                                           09:20:23
 14         6CA8A9009A2A5C92F445BC0EFBD8437AE4F2B285    Vixen              09/03/2017   08/02/2017        08/17/2017      15732903934
                                                                           15:54:57
                                                                                                                                         Case 2:17-cv-01731-TSZ Document 39-3 Filed 06/18/18 Page 2 of 3




 15         7105B3D5A8869772E44C5F6C1349832164EAAEAF    Tushy              08/15/2017   05/06/2017        06/15/2017      15389210313
                                                                           09:17:59
 16         7BAFDEC66A03BCF63BA40C12A9CC2F525635FB38    Tushy              08/15/2017   08/04/2017        08/17/2017      15732903865
                                                                           09:34:41
                          Case 2:17-cv-01729-TSZ Document 1-2 Filed 11/16/17 Page 3 of 3
Work   Hash                                       Site        UTC          Published       CRO App. File   CRO Number
                                                                                           Date
17     8359455E56EDB1AD829E0ACBACF1D98BD86EE2EF   Tushy       08/15/2017   06/05/2017      07/06/2017      15583057012
                                                              02:49:01
18     9736BEA74CCF3D6C6AA4872E44C4EC52D5E79052   Tushy       08/15/2017   06/20/2017      07/06/2017      15584063275
                                                              09:22:57
19     A3BB1E2ECC4AD4E28AF034ED30B008D1BDC5E1DA Vixen         09/02/2017   09/01/2017      09/07/2017      PA0002052845
                                                              20:18:06
20     A9FA6BCB00C883739E7D72755145D97C30645E40   Tushy       10/14/2017   10/13/2017      10/22/2017      PA0002058299
                                                              11:40:18
21     AB03EDEBCF77AB011BEC773EEC41EBFAA82BEB93   Vixen       09/03/2017   06/28/2017      07/06/2017      15584691463
                                                              15:47:00
22     B271511687890F0A57EE68486AFE3F2D827638A1   Tushy       08/15/2017   07/10/2017      08/17/2017      15732782072
                                                              02:32:27
23     BEA3F713C85F20F62FE90741A87B482944C52E42   Tushy       08/16/2017   07/25/2017      08/11/2017      PA0002046870
                                                              23:45:57
24     C61CE30F96E9037E7363DAC9D09E07E281ED5FAD   Tushy       08/17/2017   05/11/2017      06/22/2017      PA0002039286
                                                              01:04:37
25     D1316AB477E80BDC9FEF28DD4412219B33366E37   Vixen       09/16/2017   07/08/2017      08/17/2017      15732903239
                                                              23:04:46
26     D9D383053898F4058C938FD0671881210CE06741   Tushy       08/25/2017   08/24/2017      08/24/2017      PA0002052837
                                                              03:13:30
27     FC61F5A0FC9E1ADADAE044CA864470F5B3C00A31   Tushy       08/15/2017   07/30/2017      08/11/2017      15711086778
                                                              09:33:19
                                                                                                                          Case 2:17-cv-01731-TSZ Document 39-3 Filed 06/18/18 Page 3 of 3
